CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 1 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 2 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 3 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 4 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 5 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 6 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 7 of 8
CASE 0:22-cr-00020-ADM-JFD Doc. 27 Filed 05/19/22 Page 8 of 8
